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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


  AMGUARD INSURANCE COMPANY,                         )
                                                     )
       Plaintiff,                                    )
                                                     )
       vs.                                           )       Case No. 4:20-cv-1853 MTS
                                                     )
  T & J ENTERPRISES, INC., et al.,                   )
                                                     )
       Defendants.                                   )

                     ORDER OF DISMISSAL WITHOUT PREJUDICE

       The Court concludes Plaintiff’s Amended Complaint for Declaratory Judgment, Doc. [25],

no longer presents a case or controversy. Plaintiff has moved for leave to file a Third Amended

Complaint. Doc. [112] (Motion for Leave to File Amended Complaint); see also Doc. [1], [24],

and [25]. Plaintiff’s proposed amendment, however, seeks to set out a “transaction, occurrence,

or event that happened after the date of the” Second Amended Complaint—and after the date of

every pleading Plaintiff has filed in this action. See Fed. R. Civ. P. 15(d). But Plaintiffs did not

analyze the propriety of their proposed new pleading under Rule 15(d). Having concluded no

case or controversy exists within the operative pleading and with nothing from the parties on the

propriety of a supplemental pleading, which may elucidate a case or controversy, the Court must

dismiss the action without prejudice for want of jurisdiction.

       Accordingly,

       IT IS HEREBY ORDERED that this action is DISMISSED without prejudice.

       IT IS FURTHER ORDERED that the Clerk’s entry of Default heretofore entered against

Defendants Michelle Hill and Earl Hill is SET ASIDE.

       IT IS FINALLY ORDERED that all pending motions in this case are DENIED without
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prejudice as moot.

       Dated this 2nd day of March 2023.




                                                 MATTHEW T. SCHELP
                                                 UNITED STATES DISTRICT JUDGE




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